                              UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF TENNESSEE                         Motion GRANTED.
                                 NORTHEASTERN DIVISION                                 Hearing reset for
                                                                                       8/27/14 at 2:30 p.m.
UNITED STATES OF AMERICA                       )
                                               )
                                               )
       v.                                      )       No. 2:11-00002-1
                                               )       Judge Trauger
                                               )
SPIKE HEDGECOTH                                )


                       MOTION TO CONTINUE SENTENCING HEARING

       Comes now the defendant, Spike Hedgecoth, by and through counsel, Sumter L. Camp, and

hereby moves this Honorable Court to continue the July 31, 2014, sentencing hearing in the above

styled cause. In support of this motion, counsel for the defendant states that he is in trial with this

Court in the matter of U.S. v. Shaub from July 29 - August 8, 2014.

                                               Respectfully submitted,


                                               s/ Sumter L. Camp
                                               SUMTER L. CAMP
                                               Assistant Federal Public Defender
                                               Attorney for Defendant
                                               810 Broadway, Suite 200
                                               Nashville, TN 37203
                                               615-736-5047

                                   CERTIFICATE OF SERVICE

       I hereby certify that on the 23rd day of July, 2014, I electronically filed the foregoing Motion
to Continue Sentencing Hearing with the clerk of the court by using the CM/ECF system, which will
send a notice of Electronic Filing to Blanche B. Cook, Assistant U.S. Attorney, 110 Ninth Avenue
South, A-961, Nashville, TN 37203.
       This motion has also been sent, via electronic mail, to Andrea Testa, U.S. Probation Office, A-
725 U.S. Courthouse, Nashville, TN 37203.

                                              s/ Sumter L. Camp
                                              SUMTER L. CAMP



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